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                                         July 31, 2018

Via ECF

The Honorable Sarah Netburn
Thurgood Marshall United States Courthouse
40 Foley Square, Room 430
New York, NY 10007

Re:    In re Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Netburn:

        Defendant Kingdom of Saudi Arabia (“Saudi Arabia”) respectfully submits this letter
concerning the status of its document production in jurisdictional discovery. This Court’s order
dated May 24, 2018, ECF No. 4009 (“May 24 Order”), directed that Saudi Arabia’s production
be completed by July 31, 2018. The production made today amounts to 3,818 documents (6,674
pages).

       Saudi Arabia has made diligent efforts to comply with the Court’s order. Indeed, Saudi
Arabia has gone well beyond the required discovery parameters established by the Court.

       First, Saudi Arabia has treated as responsive and produced the complete personnel file for
Omar Al Bayoumi, regardless of date range. Saudi Arabia has also produced any additional
responsive documents found through searches of the offices of the General Authority of Civil
Aviation (“GACA”) in Riyadh, Saudi Arabia, and Jeddah, Saudi Arabia, including the offices of
Saudi Air Navigation Services in Jeddah, Saudi Arabia, and further including an off-site
warehouse where old GACA documents are archived.

         Second, Saudi Arabia has treated as responsive and produced the complete personnel
files of Fahad Al Thumairy and Khalid Al Sowailem, again regardless of date range. Saudi
Arabia has also produced any additional responsive documents from the offices of the Ministry
of Islamic Affairs in Riyadh, including an off-site warehouse where old documents of that
Ministry are archived.
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        Third, Saudi Arabia has voluntarily searched for and produced documents protected by
the Vienna Conventions on Diplomatic and Consular Relations from its Embassy in Washington,
D.C., its Consulate in Los Angeles, California, and its Cultural Mission in Fairfax, Virginia. 1

        Fourth, Saudi Arabia has produced documents found through a targeted request to
the Presidency of State Security for documents collected from other agencies during the
relevant period.

        Fifth, Saudi Arabia has also made specific targeted requests for certain documents from
other agencies outside the scope of the searches set forth in the May 24 Order and has produced
responsive documents, including records from Saudi Arabia’s Ministry of Interior concerning
passport applications for Mr. Al Bayoumi, Mr. Al Thumairy, and Mr. Al Sowailem and the dates
on which any of those individuals entered or exited Saudi Arabia.

        Saudi Arabia has withheld no documents on grounds of privilege, protection, or
immunity, 2 except for a small number of documents that we have provided to the United States
to determine whether they contain information that the United States considers privileged or
otherwise protected from discovery. The U.S. Attorney’s Office has advised that the United
States requires more time to review those documents. Saudi Arabia has withheld those
documents pending the completion of that review.

        Despite Saudi Arabia’s best efforts, a small supplemental production may be necessary.
In particular, after the initial searches of GACA’s offices, Saudi Arabia made targeted follow-up
requests for additional potentially responsive documents based on the results of those searches.
Other targeted follow-up requests may yield additional potentially responsive documents. Saudi
Arabia does not expect any supplemental production to be substantial, and it will provide that
supplemental production as soon as possible. If that process is not complete by August 14, Saudi
Arabia will submit another letter to the Court with another status update.




       1
         As Saudi Arabia has made clear in its discovery responses, it has limited its search for
and review of diplomatic and consular documents by employing specific reasonable search
parameters disclosed to the Court and Plaintiffs in advance, and reserves its rights under the
Vienna Conventions as to all other documents. See ECF No. 4005, at 6.
       2
         Saudi Arabia has, however, treated as nonresponsive documents generated specifically
in connection with document or information requests in this litigation, some of which were
included in employee personnel files by the relevant agencies.
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                                                 Respectfully submitted,

                                                 /s/ Michael K. Kellogg

                                                 Michael K. Kellogg
                                                 Counsel for the Kingdom of Saudi Arabia

cc:    Chambers of the Honorable George B. Daniels (via facsimile)
       All MDL Counsel of Record (via ECF)
